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           In the United States Court of Federal Claims
                                No. 04-1141 C

                            (Filed March 12, 2010)

*********************
STRUCTURAL CONCEPTS, INC., *
                           *
              Plaintiff,   *
                           *
         v.                *
                           *
THE UNITED STATES,         *
                           *
              Defendant.   *
*********************

                          SCHEDULING ORDER

      On March 11, 2010, defendant filed an Unopposed Motion to Modify the
Scheduling Order dated January 26, 2010, by extending all deadlines by
approximately two weeks. Accordingly, it is hereby ORDERED that:

     (1)   All fact discovery, including production of documents, depositions,
           interrogatories and requests for admissions, shall be COMPLETED
           on or before March 31, 2010;

     (2)   Plaintiff shall provide defendant with its Expert Report, pursuant to
           RCFC 26(a)(2), on or before April 30, 2010;

     (3)   Defendant shall provide plaintiff with its Expert Report, pursuant to
           RCFC 26(a)(2), on or before May 14, 2010;

     (4)   Expert depositions shall be COMPLETED on or before June 4,
           2010;

     (5)   On June 4, 2010, or upon completion of discovery by the parties,
           whichever event occurs earlier, counsel are directed to FILE a Joint
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      Status Report informing the court of the status of proceedings in the
      case and the extent to which the parties have determined whether any
      or all of the instant matter may be settled. Absent a plan to file
      dispositive motions, the status report shall propose a schedule for the
      exchanges required by Appendix A, ¶ 13 and the filings required by
      ¶¶ 14 through 17; and

(6)   The initial moving brief of any Dispositive Motions shall be FILED
      on or before July 6, 2010.



                                             s/Lynn J. Bush
                                             LYNN J. BUSH
                                             Judge




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